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       通貨は記載していない。


     ２   BTC 及び BCC の売却
         当職は、第 9 回債権者集会から今回の債権者集会までの間に、裁判所の許可を得て、
       破産財団に属する BTC 及びビットコインキャッシュ（以下「BCC」という。）の一部を
       売却した。売却数量及び破産管財人口座への入金額は以下のとおりである。
          仮想通貨の種類                 売却数量              破産管財人口座への入金額
               BTC                35,841.00701BTC       382 億 3138 万 9537 円
               BCC                34,008.00701BCC        47 億 5665 万 4806 円
                                  合計入金額                 429 億 8804 万 4343 円


         裁判所と協議した結果、現時点で一定数量の BTC 及び BCC を売却し一定の配当原資
       を金銭で確保することが必要かつ相当であると判断し、上記数量の BTC 及び BCC を売
       却するに至った。
         当職は、BTC 及び BCC の売却時点の市場価格を踏まえ、可能な限り高値で BTC 及び
       BCC を売却するように努めた。
         今後の BTC 及び BCC の売却に関しては、裁判所と協議して決定したいと考えている。


     ３   BTC 管理状況
         平成 30 年 3 月 5 日時点において破産財団で管理する BTC は、166,344.35827254BTC
       である。当職は、現在も引き続き破産者が保有する BTC の有無を調査しており、かか
       る BTC が発見され次第、当職が管理するアドレスに移動させて管理する予定である。
         また、同日時点において破産財団で管理する BCC は、168,177.35927254BCC である。
         なお、BTC の分裂により誕生した仮想通貨は、破産財団に属する BTC から分裂したも
       のに関しては、破産財団に属すると考えている。


   第３    破産債権の調査の状況
     １   破産債権届出及び認否の状況
         当職は、平成28年5月25日の債権調査期日において、破産者のビットコイン取引所の
       ユーザー（以下「ユーザー」という。）から届け出られた破産者に対する BTC 及び金銭
       の返還に関する債権（以下「取引所関係破産債権」という。）の全てにつき、認否をし
       た。平成28年5月25日時点における破産債権届出及び認否の状況の概要については、以
       下のとおりである。
                      届出件数      届出金額           認めた金額          認めなかった金
                                ※１             ※１             額   ※１
      取引所関係破産         24750 件   263 兆 5192 億   456 億 0959 万   263 兆 4736 億



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      債権を届け出た                  6830 万 3371 円   3503 円      5870 万 9868 円
      債権者
         ※１   全て円転した金額である。


         その後、当職は、上記の認めなかった金額のうち、現在までに105件384,667,654円
       を認めるに至っている。
         142件の査定申立て（査定申立額2,223,322,737円（元本のみ））については、現在ま
       でに全てについて裁判所の決定が出されており、全て当職の主張を認めるものである。
         裁判所の査定決定に対し、14 件（訴額 1,972,594,935 円（元本のみ）
                                                 ）の査定異議の
       訴えが提起された。現在までに、4 件の査定異議の訴えは取り下げられ、7 件は当職の
       主張を認める判決が出された。
         今後、残りの異議訴訟についても、可及的速やかに終了させるよう引き続き努める。
         破産債権に関する現在の確定状況は、添付の破産債権者整理表のとおりである。


     ２   取引所関係破産債権以外の債権届出の状況
         取引所関係破産債権以外の債権を届け出た債権者に対しては、平成 27 年 9 月 9 日の
       債 権 調 査 期 日 に お い て 認 否 を し て い る が 、 こ の う ち CoinLab, Inc. （ 届 出 金 額
       8,673,534,490 円）及び(株)TIBANNE（破産管財人粟田口太郎弁護士）（届出金額
       4,440,403,865 円）から破産債権査定の申立てがあり、現在、いずれもその届出金額の
       全額につき査定手続中である。


   第４    BTC 消失経緯等調査
         当職は、破産者における BTC 及び法定通貨の消失の有無・経緯等に関し、有限責任
       監査法人トーマツ（関連法人を含む。）、及び税理士法人レクス会計事務所に委嘱し、
       かつ支援企業である Payward グループの協力も得ながら、調査を進めている。
         また、カルプレス・マルク・マリ・ロベートは、後述のとおり、逮捕起訴されたが、
       当職は、警視庁などの捜査機関の捜査協力要請に対し、可能な協力を行ってきており、
       今後とも協力を行っていく方針である。なお、かかる警察捜査との関係でも、捜査又
       は調査に関する情報については、慎重に取り扱う必要が生じている。
         存在する情報が限られていること等の事情もあり、全容の把握は難しいと考えてい
       るものの、今後も、可能な限りで、調査を続行する予定である。
         米国司法省は、平成 29 年 7 月 26 日、仮想通貨取引所運営者の Alexander Vinnik が
       40 億ドル以上のマネーロンダリングに関与した容疑で逮捕・起訴されたと発表した。
       公訴事実には MTGOX へのハッキングにより資金を盗取した事実も含まれている。当職
       は、米国法律事務所を通じて米国司法省にコンタクトし、情報提供を求めている。


   第５    関連会社


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         破産者には、複数の関連会社（親会社等）が存し、以下の会社等に対する貸付金等
       を有するため、その回収に努めている。
     １   (株)TIBANNE
         当職は、平成27年5月15日、破産者の親会社である(株)TIBANNE の破産手続（東京地
       方裁判所平成27年(フ)第585号）において、破産債権の届出（届出金額25,841,657,102
       円。なお、平成27年11月19日に306,362,100円を取り下げている。）をしたが、破産管
       財人粟田口太郎弁護士より異議を述べられたため、平成27年10月13日、破産債権査定
       の申立てを行った。現在、(株)TIBANNE の破産手続において査定手続中である。


     ２   (株)Bitcoin. Café
         当職が（株）Bitcoin. Café の破産手続（東京地方裁判所平成26年(フ)第5603号）に
       おいて行った破産債権の届出（届出金額60,710,136円）について（株）Bitcoin. Café
       の債権者である東急建設株式会社が述べた異議に関し、同社が最高裁判所に対し、上
       告及び上告受理申立てを行っていたところ、平成29年1月19日、最高裁判所により上告
       棄却及び不受理の決定がなされ、当職の上記届出を認めることを内容とする裁判所の
       判断が確定した。


     ３   カルプレス・マルク・マリ・ロベート
         当職は、平成27年10月23日、御庁に対し、破産者の代表取締役であるカルプレス・
       マルク・マリ・ロベートの破産手続開始の申立てを行った。その結果、同年11月10日、
       同人について破産手続開始決定がなされ、破産管財人に坂口昌子弁護士が選任された。
         また、カルプレス・マルク・マリ・ロベートは、平成27年9月11日に私電磁的記録不
       正作出・同供用罪及び業務上横領罪の容疑で起訴され、さらに同年11月18日に同じく
       私電磁的記録不正作出・同供用罪及び業務上横領罪の容疑で追起訴された。現在、当
       該事件に関する公判が続いている。なお、同人は、平成28年7月14日に保釈されている。
         当職は、平成29年2月6日、カルプレス・マルク・マリ・ロベートの破産手続（平成
       27年(フ)第9170号）において、破産債権の届出（届出金額25,190,162,021円）を行っ
       た。


   第６    破産法第 177 条第 1 項の規定による保全処分又は第 178 条第 1 項に規定する役
       員責任査定決定を必要とする事情の有無
         破産法第 177 条第 1 項の規定による保全処分又は第 178 条第 1 項に規定する役員責
       任査定決定を必要とする事情の有無については、引き続き調査をしている。


   第７    破産手続進行に関する事項
     １   配当の見込み等
         破産手続における配当の具体的日程については、民事再生手続開始の可能性及び当


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       職の認否に対する各債権者の応答等によって影響を受けざるを得ない。したがって、
       現時点では、配当見込み、配当時期、及び配当方法等は未定である。
         なお、破産配当が可能となる場合に BTC を配布する方法を用いるか否かについては、
       引き続き検討中である。


     ２   その他必要な情報のウェブサイトでの提供
         本件では、極めて多数の債権者が各国に存するため、本件に関し債権者に必要な情
       報等は、可能な限り、当職の管理するウェブサイト（https://www.mtgox.com/）に随
       時公表する予定である。
                                                                     以     上




                                       5
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                                                                                                        破産債権者整理表
                                                                                                      Exhibit  Page 6 of 24
                         A               B                   C              D             E          F            G               H              I       J            K          L           M         N                 O           P            Q              R

                                         破産債権届出から債権認否まで                                                      債権認否から査定手続まで                                                 異議訴訟                         確定債権額合計                               未確定債権

                                                                                                                                                         異




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                                                                                                                                             (
                         届                                                  確                        査                            確                      議                       確
                                                                        法               法 確                                   法              法 確
                         出                                                  定                        定                            定                      訴                       定                     債                             債
                                                                        1               1 定                                   1               1 定                                                                                                              時点
                         債                                                  債                        債        査定債権額               債                      訟           訴額          債          確定         権                             権          債権額
                                     届出債権額               認めた額           2               2 債                                   3               3 債                                                                      債権額
                         権                                                  権                        権       （元本のみ）               権                      提       （元本のみ）          権         債権額         者                             者         （届出）
                                                                        4               4 権                                   1               1 権
                         者                                                  者                        者                            者                      起                       者                     数                             数
                                                                        Ⅲ               Ⅲ 額                                   Ⅱ              Ⅱ 額
                         数                                                  数                        数                            数                      者                       数




                                                                        )




                                                                                       )




                                                                                                                              )




                                                                                                                                             )
                                                                                                                                                         数


                    B
                届
                    T
                出
                    C
1               債        9,863   260,877,125,161,772   15,116,975,701   9,841       14,891,948,458   22       1,968,803,487           12     8,653,897   10      1,967,595,751       9   216,373,346        9,862   15,116,975,701       1        1,325,298   2018/3/6
                    の
                権
                    み
                者
        取           の
        引
        所           B
        債       届 T
        権       出 C
    届
2       者       債 +     10,885     2,634,593,223,515   29,507,353,787 10,806        28,598,171,851   79        126,717,396            76   907,859,009       3      4,283,484        1     1,322,927       10,883   29,507,353,787       2        3,464,880   2018/3/6
         （




    出           権 金
    破   口       者 銭
    産   座           の
        数
    債
         ）




    権           届 金
                出 銭
3               債 の      4,002         7,549,918,084    1,369,931,669   3,961        1,327,392,414   41        113,481,053            40    41,816,849       1        715,700        1      722,406         4,002    1,369,931,669       -                -   2018/3/6
                権 み
                者 の



                非
            債
                取
4           権                5        13,119,083,453        2,936,270           3        2,936,270       2   13,113,938,355            -             -       -               -       -             -           3         2,936,270       2   13,113,938,355   2018/3/6
                引
            者
                所


5       合    計          24,755   263,532,387,386,824   45,997,197,427 24,611        44,820,448,993 144       15,322,940,291       128      958,329,755   14      1,972,594,935   11      218,418,679       24,750   45,997,197,427       5   13,118,728,533



    ※１ 「確定債権者数（法１２４Ⅲ）」（列D）、「確定債権者数（法１３１Ⅱ）」（列H）及び「確定債権者数」（列L）の中には、破産債権なしとして確定した債権者も含まれる。

    ※2 「BTCのみの届出債権者」の「確定破産債権者数（法131Ⅱ）」（12件）（セルH1）及び「確定債権額（法131Ⅱ）」（8,653,897円）（セルI1）のうち、10件・確定債権額8,653,897円は、査定申立ての全部が却下されたこと又は査定申立後に
        破産管財人が異議を撤回し申立人が査定申立てを取り下げたことにより確定したものである。

    ※3 「BTC＋金銭の届出債権者」の「確定破産債権者数（法131Ⅱ）」（76件）（セルH2）及び「確定債権額（法131Ⅱ）」（907,859,009円）（セルI2）のうち、55件・確定債権額235,988,257円は、書類不備により査定申立ての受理
        が認められなかったこと、査定申立ての全部若しくは一部が却下されたこと、又は査定申立後に破産管財人が異議を撤回し申立人が査定申立てを取り下げたことにより確定したものである。

    ※4 「金銭のみの届出債権者」の「確定破産債権者数（法131Ⅱ）」（40件）（セルH3）及び「確定債権額（法131Ⅱ）」（41,816,849円）（セルI3）のうち、23件・確定債権額26,276,037円は、書類不備により査定申立ての受理
        が認められなかったこと、査定申立ての全部若しくは一部が却下されたこと、又は査定申立後に破産管財人が異議を撤回し申立人が査定申立てを取り下げたことにより確定したものである。

    ※5 「BTCのみの届出債権者」の「異議訴訟」の「確定債権者数」（9件）（セルL1）及び「確定債権額」（216,373,346円）（セルM1）のうち、2件・確定債権額216,370,752円は、訴え提起後に破産管財人が異議を撤回し原告が訴えを
        取り下げたことにより確定したものである。

    ※6 「BTC＋金銭の届出債権者」の「異議訴訟」の「確定債権者数」（1件）（セルL2）及び「確定債権額」（1,322,927円）（セルM2）は、訴え提起後に破産管財人が異議を撤回し原告が訴えを取り下げたことにより確定したものである。

    ※7 「金銭のみの届出債権者」の「異議訴訟」の「確定債権者数」（1件）（セルL3）及び「確定債権額」（722,406円）（セルM3）は、訴え提起後に破産管財人が異議を撤回し原告が訴えを取り下げたことにより確定したものである。
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平成２６年（フ）第３８３０号
破産者 株式会社ＭＴＧＯＸ
破産管財人 弁護士 小林 信明
                                                    財         産           目            録
                                                                                                                  （開始決定日：平成26年4月24日現在）
資産の部                                                                                                                            （単位：円）
番号 科目                                                   簿 価              評価額（財団組入額）                               備考
 1    現金及び預金                                                1,336,251              1,359,603
       現金                                                           0                     0
       みずほ銀行 渋谷支店 普通預金 No.1457705                             120,000               152,602 解約入金済み。
       みずほ銀行 渋谷支店 普通預金 No.1497669                                   0                    47 解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110151                                 0                     4 通貨：USD、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110186                                 0                     5 通貨：GBP、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110216                                 0                    97 通貨：AUD、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110267                                 0                     4 通貨：NZD、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110232                                91                    87 通貨：DKK、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110275                                28                    26 通貨：HKD、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110283                                25                    25 通貨：SGD、解約入金済み。
       みずほ銀行 渋谷支店 外貨普通預金 No.9110259                                89                    87 通貨：CHF、解約入金済み。
       ゆうちょ銀行 渋谷支店 総合口座 No.10170-48410711                         945                   945 解約入金済み。
       楽天銀行 第二営業支店 普通預金 No.7018261                            279,457               279,213 解約入金済み。
       ジャパンネット銀行 すずめ支店 普通預金 No.2559084                        596,168               596,168 解約入金済み。
       八千代銀行 渋谷支店 普通預金 No.0623839                                   7                     7 解約入金済み。
       八千代銀行 渋谷支店 外貨普通預金 No.0623949                            95,357                93,468 通貨：AUD、解約入金済み。
       八千代銀行 渋谷支店 外貨普通預金 No.0623950                           141,608               136,041 通貨：EUR、解約入金済み。
       八千代銀行 渋谷支店 外貨普通預金 No.0623938                           102,476               100,677 通貨：USD、解約入金済み。
       りそな銀行 渋谷支店 普通預金 No.2973992                                   0                   100 解約入金済み。
 2    短期貸付金                                              1,307,423,210           46,686,362 評価は平成30年3月6日までの換価実績による。
       ㈱TIBANNE                                           772,791,001                     0 破産者の関係会社、平成27年1月30日破産手続開始決定。破産債権届出済み。
       ㈱Shade3D                                           338,139,321            46,686,362 破産者の関係会社。平成27年9月29日、債権譲渡契約に基づき回収。
       ㈱Bitcoin cafe                                       60,000,000                     0 破産者の関係会社、平成26年6月18日破産手続開始決定。破産債権届出済み。
       カルプレス・マルク・マリ・ロベート                                  136,175,781                     0 破産者の代表者。平成27年11月10日破産手続開始決定。
       MTGOX HongKong                                         317,107                     0 破産者の関係会社。弁済請求中。
 3    未収入金                                                    925,826               331,600 評価は平成30年3月6日までの換価実績による。
       ㈱TIBANNE                                               562,026                     0 破産者の親会社、貸付金の未収利息。
       渋谷税務署（法人税中間納付）                                         242,200               243,900 平成26年7月24日還付金入金済み。
       渋谷都税事務所（事業税及び地方法人特別税中間納付）                               80,800                80,800 平成26年7月29日還付金入金済み。
       渋谷都税事務所（住民税法人税割中間納付）                                    40,800                 6,900 均等割りと相殺の上、平成26年7月29日還付金入金済み。
 4    仮払金（東京地方裁判所）                                          2,000,000              2,000,000 平成26年6月4日回収。
 5    預け金                                                 783,948,565           862,720,420 評価は平成30年3月6日までの換価実績による。
       申立代理人                                              241,459,630           231,557,866 平成26年5月12日に評価額にて引継ぎ済み。
       申立代理人                                              509,510,685           500,698,397 平成26年5月9日に評価額にて引継ぎ済み。
       申立代理人                                               32,978,250            32,977,386 平成26年5月8日に評価額にて引継ぎ済み。
       その他                                                          0            97,486,771 平成27年1月7日回収。
 6    他社預け金                                              1,693,444,088          990,215,531 評価は平成30年3月6日までの換価実績による。
       CoinLab                                            500,000,000                     0 訴訟継続中。
       その他                                               1,193,444,088          990,215,531 平成29年6月5日入金済み。
 7    工具器具備品                                              104,557,699            32,582,300 評価は平成30年3月6日までの換価実績による。
       DELL サーバー                                            5,649,000
       Violin Server                                       90,623,142            32,382,300 平成26年11月27日売却、入金済み。
       Apple Japan      ノートパソコン28台                          5,383,438
       Chair                                                2,902,119               200,000 平成27年6月8日売却、入金済み。
 8    敷金                                                      700,000                     0 評価は平成30年3月6日までの換価実績による。
       ディ・エグゼクティブ・センター・ジャパン株式会社                               540,000                     0 解約済み。回収不能。
       ディ・エグゼクティブ・センター・ジャパン株式会社（駐車場敷金）                        160,000                     0 解約済み。回収不能。
 9    差入保証金                                                10,586,875            10,587,933 破産者が供託した仮差押解放金払渡金。回収済み。
 10   開発費                                                  85,875,146                     0 評価は平成30年3月6日までの換価実績による。
       Applico Inc.                                        33,453,375                     0 資産性なし
       Internet Escrow Services                             3,073,459                     0 資産性なし
       Mandalah KK                                         31,993,500                     0 資産性なし
       The Phuse Inc.                                       4,572,513                     0 資産性なし
       Winsoft Technology Solutions Inc.                   12,782,299                     0 資産性なし
 11   受取利息                                                          0               390,829 預金利息
 12   破産申立予納金                                                       0            18,063,297 評価は平成30年3月6日までの換価実績による。
      破産申立予納金（カルプレス・マルク・マリ・ロベート）                                    0              3,026,000 破産申立予納金戻り（郵券等戻り含む）
      破産申立予納金（㈱TIBANNE）                                             0            15,037,297 破産申立予納金戻り（郵券等戻り含む）
 13   仮想通貨売却収入                                                      0         42,988,044,343 評価は平成30年3月6日までの換価実績による。
       BTC及びBCC売却                                                             42,988,044,343 平成30年3月6日までの売却入金分
                                            資産合計         3,990,797,660        44,952,982,218


負債の部
番号 科目                                                   帳簿価額                届出金額                                  備考
 1    財団債権・優先的破産債権（公租公課）                                   54,374,152        額未定
      財団債権（その他経費）                                          19,253,642        額未定
 2    一般破産債権（取引所関係破産債権）                                  8,256,092,214   263,519,268,303,371
      一般破産債権（取引先等）                                        402,470,293         13,119,083,453
                                             負債合計        8,732,190,301       額未定

※1 「簿価」は、原則として、平成26年４月24日現在の破産者の帳簿価額を記載しており、当該金額が実際の換価額と一致するものではない。
※2 「評価額（財団組入額）」は、原則として、平成30年3月6日現在実際に回収された金額を記載している。
※3 破産者が保有するBitcoin及びBitcoin Cashは、上記資産には含まれていない。なお、平成30年3月5日時点において破産財団で管理するBitcoinは、166,344.35827254 BTCであり、
   Bitocoin Cashは、168,177.35927254 BCCである。
※4 本目録の記載は、現時点での調査結果に基づく内容であり、今後の調査により本目録に記載のない資産又は負債が判明する可能性がある。
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                                   収      支       計        算   書
                                       自 平成２６年        ４月 ２４日
                                       至 平成３０年        ３月 ６日
平成２６年（フ）第３８３０号
破産者 株式会社ＭＴＧＯＸ
破産管財人 弁護士 小林 信明
                                                                                           （単位：円）

                 収   入   の   部                                         支   出   の   部


番号               摘   要                  金額            番号               摘   要              金額


 1    引継現預金                            766,593,252    1    事務費                            35,942,428


 2    引継予納金                               2,000,000   2    破産開始決定通知書送付費用                    6,890,292


 3    供託金回収                             10,587,933    3    消耗品費                           11,067,793


 4    受取利息                                 390,829    4    専門家報酬                         328,320,116


 5    税金還付                                 331,600    5    業務委託報酬                        153,957,278


 6    他社預け金の回収                         990,215,531    6    和解金（通信関連契約解約費用）                  6,310,433

      破産手続の支援等に関する契約に
 7                                      32,382,300    7    旅費交通費                             298,930
      基づくＰaywardの支援金

 8    預け金の回収                            97,486,771    8    管財人室家賃・敷金                        8,180,428

                                                           公租公課（管財人報酬の源泉所得税
 9    備品売却収入                               200,000    9                                   40,051,228
                                                           等）

 10   ㈱Shade3Dに対する貸付金譲渡代金               46,686,362    10   コールセンター費用                      10,002,395

      カルプレス・マルク・マリ・ロベート破
 11                                       3,026,000   11   TIBANNE破産申立予納金                 15,000,000
      産申立予納金戻り（郵券等戻り含む）

      TIBANNE破産申立予納金戻り（郵券
 12                                     15,037,297    12   管財人報酬                         163,681,976
      等戻り含む）

                                                           カルプレス・マルク・マリ・ロベート破
 13   仮想通貨売却収入                       42,988,044,343   13                                    3,000,000
                                                           産申立予納金

         合   計                       44,952,982,218            合   計                     782,703,297




                                                                       差引残金            44,170,278,921
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平成２６年（フ）第３８３０号
破産者 株式会社ＭＴＧＯＸ
破産管財人 弁護士 小林 信明
（破産手続開始の決定日：平成26年 4月24日現在）

                                              【破産】貸借対照表
                                                                                              （単位：円）
                科目                      評価額（財団組入額）※1              科目                       届出額


現   金       及       び    預       金            1,359,603   財団債権及び優先的破産債権 ※ 3                    73,627,794


短       期       貸        付       金          46,686,362    一   般   破       産   債   権   263,532,387,386,824


未           収        入           金             331,600


仮               払                金            2,000,000


預               け                金         862,720,420


他       社       預        け       金         990,215,531


工   具       器       具    備       品          32,582,300


敷                                金                   0


差       入       保        証       金          10,587,933


開               発                費                   0


受           取        利           息             390,829


破   産       申   立    予       納   金          18,063,297


仮 想 通 貨 売 却 収 入                          42,988,044,343


資               産                計 ※2    44,952,982,218   負           債           計   263,532,461,014,618


※1 「評価額（財団組入額）」は、平成30年3月6日現在実際に回収された金額を記載している。
※2 破産者が保有するBitcoin及びBitcoin Cashは、上記資産には含まれていない。なお、平成30年3月5日時点において破産財団で管理する
   Bitcoinは、166,344.35827254 BTCであり、Bitocoin Cashは、168,177.35927254 BCCである。
※3 財団債権及び優先的破産債権については、交付要求未了のため、破産手続開始決定時の破産者の帳簿に基づく金額である。
※4 本貸借対照表の記載は、現時点での調査結果に基づく内容であり、今後の調査により本貸借対照表に記載のない資産
   又は負債が判明する可能性がある。
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                                            [Translation]


   Tokyo District Court 2014 (fu) No. 3830
   Bankrupt Entity: MtGox Co., Ltd.

                                             Report

                                                                               March 7, 2018


   To: Tokyo District Court, Collegiate Section of 20th Civil Division


                                                         Bankrupt Entity: MtGox Co., Ltd.
                                  Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law



   I.     Petition for Commencement for Civil Rehabilitation Proceedings Filed by
         Some of Creditors

          On November 24, 2017, some of the creditors of the Bankrupt Entity filed with the
          Tokyo District Court a petition for the commencement of civil rehabilitation
          proceedings (minji saisei) with respect to the Bankrupt Entity. On the same day,
          the court issued an examination order, and ordered to appoint an examiner to
          examine whether there are reasons to dismiss the petition.


          I willingly cooperated with the examiner in examining and provided him with
          necessary materials.


          On February 28, 2018, the examiner submitted an examination report to the court,
          concluding, “I[1] concluded that there is no ground set forth in Paragraph 2 through
          4 of Article 25 of the Civil Rehabilitation Act with respect to the Bankrupt Entity,
          MtGox Co., Ltd. However, this conclusion is based on the premises that measures
          are taken to secure the interests that are expected to have already been obtained, in
          light of the size of the bankruptcy estate that has been established in the bankruptcy
          proceedings, by all creditors who filed proofs of claims for the pending bankruptcy

   1    Note: The examiner.




                                                  1
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            case against the Bankrupt Entity[2], especially creditors whose bankruptcy claims
            are monetary claims, before the order of commencement of civil rehabilitation
            proceedings is made, i.e., before the stay of the bankruptcy proceedings”.


            Going forward, based on the results of the examination, the court will decide
            whether to commence civil rehabilitation proceedings against the bankrupt entity.


            Unless the court makes a new decision, the bankruptcy proceedings will proceed as
            before, and I, as the bankruptcy trustee, continue to have the right to administer and
            dispose of the bankruptcy estate as before.


   II.      Progress and Status of Bankruptcy Estate


       1.     Status of Bankruptcy Estate

            According to our investigation up to the date of this report, the status of the
            bankruptcy estate is as shown in the List of Assets and the Balance Sheet, and the
            balance in the account that I have secured as of March 6, 2018, is JPY
            44,170,278,921, i.e., an increase of approximately JPY 42,956,000,000 from the
            time of the 9th creditors’ meeting.


            However, since the investigation of the status of the holdings of bitcoins (“BTC”) is
            still on-going, such List of Assets and Balance Sheet do not contain BTC and other
            cryptocurrencies split from BTC held by the bankrupt entity.

       2.     Sale of BTC and BCC

            Between the 9th creditors’ meeting and this creditors’ meeting, with the permission
            of the court, I sold a certain amount of BTC and bitcoin cash (“BCC”) that
            belonged to the bankruptcy estate. The quantities sold and the amount paid into
            the bankrupt trustee’s account are shown below.
                                                                Amount paid in the bankrupt
            Type of cryptocurrencies      Quantity sold
                                                                trustee’s account
            BTC                           35,841.00701BTC       JPY 38,231,389,537


   2   Note: Tokyo District Court 2014 (fu) No. 3830




                                                          2
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          BCC                       34,008.00701BCC           JPY 4,756,654,806
                                    Total amount paid         JPY 42,988,044,343


          As a result of the consultation with the court, I considered it necessary and
          reasonable to sell a certain amount of BTC and BCC at this point and secure a
          certain amount of money for distribution resources, and thus, I sold the amount of
          BTC and BCC above.


          I made efforts to sell BTC and BCC at as high a price as possible in light of the
          market price of BTC and BCC at the timing of sale.


          I plan to consult with the court and determine further sale of BTC and BCC.


     3.     Status of BTC managed

          The amount of BTC managed by the bankruptcy estate as of March 5, 2018, is
          166,344.35827254 BTC. Currently, I am still investigating the existence of
          additional BTC held by the bankrupt entity. If any BTC is found, I will move
          them to the address which I manage, and I will keep such BTC there, in the soonest
          manner.


          The amount of BCC managed by the bankruptcy estate as of March 5, 2018, is
          168,177.35927254 BCC.


          It is my understanding that the cryptocurrencies split from BTC of the bankruptcy
          estate belong to the bankruptcy estate.


   III.    Status of Investigation of Bankruptcy Claims


     1.     Status of Filing of Bankruptcy Claims and Acceptance or Rejection of
          Claims

          On May 25, 2016, the date of the investigation of claims, I completed the task of
          accepting or rejecting each of the claims against the Bankrupt Entity seeking a
          refund of BTC or money that was filed by users of the Bankrupt Entity’s Bitcoin
          exchange (such users, the “Users”; and such claims, the “Bankruptcy Claims


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          Related to Exchange”).


          A summary of the status of filings of bankruptcy claims and the acceptance or
          rejection of claims as of May 25, 2016, is shown below.

                                  Number       Total amount of       Total amount of    Total amount of claims
                                  of filings   claims filed *1       claims that have   that have been
                                                                     been accepted      rejected *1
                                                                     *1
    Creditors who filed a claim   24,750       JPY                   JPY                JPY
    only with respect to the      filings      263,519,268,303,371   45,609,593,503     263,473,658,709,868
    Bankruptcy Claims Related
    to Exchange
          *1 All amounts have been converted into JPY.


          Thereafter, out of the claims that I had originally rejected, to date, I have changed
          my decision from rejection to acceptance with respect to certain claims made under
          105 filings, the total amount of which is JPY 384,667,654.


          With respect to 142 petitions for assessment, the total amount of which is JPY
          2,223,322,737 (principal amount only), court decisions have been made for all of
          them to date, and all of them have accepted my assertions. In response to the
          assessment orders made by the court, 14 actions were filed to oppose the
          bankruptcy claim assessment, the total amount of which is JPY 1,972,594,935
          (principal amount only). Four of them have been withdrawn, and the court has
          decided to accept my rebuttals in seven of them.


          Going forward, I will continue to make an effort to end the pending actions as soon
          as possible.


          The current status of the bankruptcy claims is shown in the attached list of the
          creditors’ status.


     2.    Status of Filings of Claims Other than Bankruptcy Claims Related to
          Exchange

          With respect to creditors who filed claims other than the Bankruptcy Claims
          Related to the Exchange, I accepted or rejected the claims filed by such creditors at
          the date of investigation of claims on September 9, 2015; however, among these


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         claims, CoinLab, Inc. (the amount of the filed claim: JPY 8,673,534,490) and
         TIBANNE Co., Ltd. (Bankruptcy Trustee: Taro Awataguchi Attorney-at-law) (the
         amount of the filed claim: JPY 4,440,403,865) filed petitions for a bankruptcy
         claim assessment, and the assessment of the entire amount that they filed is
         currently under way.


   IV.    Investigation of Disappearance of BTC, etc.

         I am conducting investigations into whether any BTC or money in other currencies
         that were possessed by or under the control of the bankrupt entity have disappeared,
         and if they have, the events leading to such disappearance by delegating such work
         to Deloitte Touche Tohmatsu LLC (and its affiliates) and ReEx Accounting Firm,
         with the assistance of Payward, the supporting company.


         Additionally, while Robert Marie Mark Karpeles was arrested and prosecuted as
         stated below, following a request made by investigation agencies such as the
         Metropolitan Police Department to cooperate with their investigation, I have been
         providing and will continue to provide them with cooperation as much as possible.
         In connection with such police investigation, information on the investigation needs
         to be handled carefully.


         Due to the circumstances, among others, where the amount of information available
         is limited, I believe it will be difficult to understand the full picture; however, I will
         continue these investigations, as much as possible.


         On July 26, 2017, the U.S. Department of Justice announced that Alexander Vinnik,
         manager of a cryptocurrency exchange, was arrested and indicted for involvement
         in money laundering of more than 4 billion dollars. The allegations in the
         indictment include the fact that he obtained funds by hacking MtGox. I have
         contacted the U.S. Department of Justice through a U.S. law firm and have made a
         request for information.


   V.    Affiliated Companies

         The bankrupt entity has several affiliated companies (parent company, etc.), and has
         claims such as loans against the following companies and person. I am making


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          efforts to collect such loans.


     1. TIBANNE Co., Ltd.

          In the bankruptcy proceedings against TIBANNE Co., Ltd., which is the parent
          company of the bankrupt entity (Tokyo District Court 2015 (fu) No. 585), on May
          15, 2015, I filed a bankruptcy claim (the amount of the filed claim was JPY
          25,841,657,102; however, I filed a voluntary dismissal with respect to a portion of
          the said claim in the amount of JPY 306,362,100 on November 19, 2015). Mr.
          Taro Awataguchi, who is the bankruptcy trustee of TIBANNE, made an objection to
          the claim; therefore, I filed a petition seeking an assessment of the bankruptcy
          claim on October 13, 2015. The assessment is currently being processed under the
          bankruptcy proceedings of TIBANNE, Co., Ltd.


     2.     K.K. Bitcoin. Café

          With regard to the objection raised by TOKYU CONSTRUCTION CO., LTD., a
          creditor of K.K. Bitcoin. Café, against my filing of a bankruptcy claim (the amount
          of the bankruptcy claim was JPY 60,710,136) in the bankruptcy proceeding against
          K.K. Bitcoin. Café (Tokyo District Court 2014 (fu) No. 5603), where TOKYU
          CONSTRUCTION CO., LTD. filed a final appeal as well as a petition for final
          appeal to the Supreme Court, the Supreme Court, on January 19, 2017, made a
          decision to dismiss and reject the final appeal. Accordingly, the court judgment that
          approves the aforesaid bankruptcy claim that I had filed has become final.


     3.     Robert Marie Mark Karpeles

          I filed a petition for the commencement of bankruptcy proceeding regarding Robert
          Marie Mark Karpeles, who is the representative director of the bankrupt entity, with
          the court on October 23, 2015. As a result, the commencement of the bankruptcy
          proceeding against Mr. Karpeles was determined on November 10, 2015, and Ms.
          Masako Sakaguchi was appointed as the bankruptcy trustee.


          Robert Marie Mark Karpeles was prosecuted on September 11, 2015 on the charges
          of unauthorized creation and use of private electromagnetic records and suspicion
          of corporate embezzlement. Furthermore, he was subsequently prosecuted on


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          November 18, 2015 on the same charges of unauthorized creation and use of
          private electromagnetic records and suspicion of corporate embezzlement.
          Currently, the trial of this case is in progress. He was released on bail on July 14,
          2016.


          In the bankruptcy proceedings against Robert Marie Mark Karpeles (2015 (fu) No.
          9170), on February 6, 2017, I filed a bankruptcy claim (the amount of the
          bankruptcy claim was JPY 25,190,162,021).


   VI. Existence of Circumstances Requiring Temporary Restraining Order, as
     Stipulated in Article 177, Paragraph 1 of the Bankruptcy Act, and Officer’s
     Liability Assessment Order, as Stipulated in Article 178, Paragraph 1 of
     Bankruptcy Act

          With respect to the existence of circumstances requiring a temporary restraining
          order, as stipulated in Article 177, Paragraph 1 of the Bankruptcy Act, and officer’s
          liability assessment order, as stipulated in Article 178, Paragraph 1 of the
          Bankruptcy Act, an investigation is still under way.


   VII.     Matters regarding Progress of Bankruptcy Proceedings


     1.     Probability of Distribution

          The detailed schedule of the distribution in the bankruptcy proceedings will
          inevitably be affected, among others, by the possibility of the commencement of
          civil rehabilitation proceeding and each creditor’s response to the acceptance or
          rejection of his or her claim. Therefore, at present, the matters such as the
          possibility of carrying out a distribution and the timing and method thereof have not
          yet been determined.


          I will continue to consider whether, in the case where a distribution is possible, a
          distribution will be made by way of distributing BTC.


     2.     Provision of Other Necessary Information on Website

          Since an extremely large number of creditors exist worldwide in this case, I plan to


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        disclose, as much as possible, information that creditors need to be aware of
        regarding this case on the website that I manage (https://www.mtgox.com) from
        time to time.


                                                                                     End of document

   * This translation is prepared for reference purposes only.   The Japanese version is the original and
    if there is any discrepancy between the Japanese original and this translation, the Japanese original
    supersedes and governs.




                                                     8
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                                                                                                                                                            Exhibit Page 18 of 24
                                                                                                                                                                               List of Creditors' Status




                                               A                     B                       C                        D                          E                   F                      G                   H                     I                   J                   K                   L                   M                N                  O               P                  Q              R
                                                                                From filing of bankruptcy claims                                                                     From acceptance and rejection of claims                              Action against an order on petition for bankruptcy claim                  Total amount of determined
                                                                                                                                                                                                                                                                                                                                                                         Undetermined claims              As of
                                                                             to acceptance and rejection of claims                                                                 to bankruptcy claim assessment proceedings                                                       assessment                                                   claims
                                                                                                                                                                                                                                                                                                                 Amount of
                                                                                                                                                                                                                                                     Number of                                                     claims
                                                                                                                                                                Number of                                  Number of                                                                         Number of
                                                                                                                                            Amount of                                                                            Amount of            creditors                                                 determined by
                                                                                                         Number of determined                                  creditors who                               determined                                                                         creditors
                                           Number of                                                                                    determined claims                          Amount of assessed                         determined claims who filed an                                                      an action
                                                                                     Total amount of               creditors                                      filed a                                   creditors                                                 Claimed amount determined by an                               Number
                                           creditors       Total amount of claims                                                          (pursuant to                                   claim                                 (pursuant to          action to                                                  against an                                           Number of       Amount of claims
                                                                                     claims that have    (pursuant to Paragraph                                 petition for                              (pursuant to                                                (principal amount action against an                              of        Amount of claims
                                           who filed                filed                                                               Paragraph 3, Article                       （principal amount                            Paragraph 2,          oppose                                                      order on                                            creditors            (filed)
                                                                                      been accepted       3, Article 124 of the                                 bankruptcy                                Paragraph 2,                                                      only)         order on petition                         creditors
                                            claims                                                                                          124 of the                                   only）                                Article 131 of the     bankruptcy                                                  petition for
                                                                                                            Bankruptcy Act)                                        claim                                Article 131 of the                                                                 for bankruptcy
                                                                                                                                         Bankruptcy Act)                                                                       Bankruptcy Act)         claim                                                     bankruptcy
                                                                                                                                                               assessment                               Bankruptcy Act)                                                                   claim assessment
                                                                                                                                                                                                                                                     assessment                                                     claim
                                                                                                                                                                                                                                                                                                                 assessment



                               Creditors
                               who filed
1                               claims          9,863        260,877,125,161,772       15,116,975,701                           9,841      14,891,948,458                    22         1,968,803,487                    12          8,653,897                 10       1,967,595,751                       9     216,373,346        9,862        15,116,975,701                  1          1,325,298   2018/3/6
                               for BTC
                                 only




                               Creditors
                  Exchange- who filed
                     user       claims
2                                             10,885            2,634,593,223,515      29,507,353,787                          10,806      28,598,171,851                   79            126,717,396                    76        907,859,009                    3          4,283,484                      1       1,322,927         10,883      29,507,353,787                  2          3,464,880   2018/3/6
                   creditors   for BTC
      Filed       (accounts)     and
    bankruptcy                  Money
      claim

                               Creditors
                               who filed
                                claims
3                                               4,002               7,549,918,084       1,369,931,669                           3,961        1,327,392,414                  41            113,481,053                    40         41,816,849                    1            715,700                      1         722,406          4,002        1,369,931,669                 -                  -   2018/3/6
                                    for
                                Money
                                 only



                   Creditors other than
4                  the exchange-user                   5           13,119,083,453            2,936,270                             3             2,936,270                     2       13,113,938,355                     -                      -                -                   -                     -                   -            3            2,936,270               2    13,113,938,355    2018/3/6
                        creditors



5                 Total                        24,755        263,532,387,386,824       45,997,197,427                          24,611      44,820,448,993                   144        15,322,940,291                   128        958,329,755                 14       1,972,594,935                     11      218,418,679         24,750      45,997,197,427                  5    13,118,728,533


              ※1 “Number of determined creditors (pursuant to Paragraph 3, Article 124 of the Bankruptcy Act)” (column D), “Number of determined creditors (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (column H) and “Number of creditors determined by an action against an order on petition for
                 bankruptcy claim assessment” (column L) includes the creditors who were determined not to have valid bankruptcy claims.
              ※2 The amount JPY 8,653,897 of 10 claims in “Number of determined creditors (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (12 accounts) (cell H1) and “Amount of determined claims (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (JPY 8,653,897) (cell I1) of “Creditors who
                 filed claims for BTC only” was determined since all the petitions for bankruptcy claim assessment were dismissed or the bankruptcy trustee withdrew its rejection and the petitioners of the petitions for bankruptcy claim assessment dismissed their petitions.
              ※3 The amount JPY 235,988,257 of 55 claims in “Number of determined creditors (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (76 accounts) (cell H2) and “Amount of determined claims (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (JPY 907,859,009)(cell I2), of “Creditors
                 who filed claims for BTC and Money” was determined since the petitions for bankruptcy claim assessment were not accepted due to incomplete documentation, were dismissed in whole or part, or the bankruptcy trustee withdrew its rejection and the petitioners of the petitions for bankruptcy claims
                 assessment withdrew their petitions.
              ※4 The amount JPY 26,276,037 of 23 claims in “Number of determined creditors (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (40 accounts) (cell H3) and “Amount of determined claims (pursuant to Paragraph 2, Article 131 of the Bankruptcy Act)” (JPY 41,816,849) (cell I3), of “Creditors
                 who filed claims for Money only” was determined since the petitions for bankruptcy claim assessment were not accepted due to incomplete documentation, were dismissed in whole or part, or the bankruptcy trustee withdrew its rejection and the petitioners of the petitions for bankruptcy claims
                 assessment withdrew their petitions.
              ※5 The amount JPY 216,370,752 of 2 claims in “Number of creditors determined by an action against an order on petition for bankruptcy claim assessment” (9 accounts) (cell L1) and “Amount of claims determined by an action against an order on petition for bankruptcy claim assessment” (JPY
                 216,373,346) (cell M1) under “Action against an order on petition for bankruptcy claim assessment” of “Creditors who filed claims for BTC only” were determined since the bankruptcy trustee withdrew its rejection and the plaintiffs dismissed their petitions after filing an action.
              ※6 “Number of creditors determined by an action against an order on petition for bankruptcy claim assessment” (1 account) (cell L2) and “Amount of claims determined by an action against an order on petition for bankruptcy claim assessment” (JPY 1,322,927) (cell M2) under “Action against an order on
                 petition for bankruptcy claim assessment” of “Creditors who filed claims for BTC and Money” were determined since the bankruptcy trustee withdrew its rejection and the plaintiffs withdrew their petitions after filing their actions.
              ※7 “Number of creditors determined by an action against an order on petition for bankruptcy claim assessment” (1 account) (cell L3) and “Amount of claims determined by an action against an order on petition for bankruptcy claim assessment” (JPY 722,406) (cell M3) under “Action against an order on
                 petition for bankruptcy claim assessment” of “Creditors who filed claims for Money only” were determined since the bankruptcy trustee withdrew its rejection and the plaintiffs withdrew their petitions after filing their actions.
                                                Case 14-31229-sgj15                Doc 188-6 Filed 10/25/18 Entered 10/26/18 15:05:18                                          Desc
                                                                                          Exhibit Page 19 of 24
                                                                                                [Translation]
[Case Number:] Tokyo District Court 2014 (fu) No. 3830
Bankrupt Entity: MtGox Co., Ltd.
Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law
                                                                                                      List of Assets
                                                                                                                                        (As of April 24, 2014, the date of the order of commencement of bankruptcy proceedings)
Assets                                                                                                                                                                                                                 (In JPY)
                                                                                                  Appraised amount (amount
                                                                                   Book value
No. Item                                                                                             incorporated into the                                                   Remarks
                                                                                      *1
                                                                                                     bankruptcy estate)*2
 1 Cash and deposits                                                                    1,336,251                  1,359,603
   Cash                                                                                         0                          0
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Mizuho Bank, Shibuya Branch, Ordinary deposit account No.1457705                     120,000                      152,602
                                                                                                                                 account of the trustee.
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Mizuho Bank, Shibuya Branch, Ordinary deposit account No.1497669                             0                        47
                                                                                                                                 account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: USD; The account has been closed, and the cash in the account has already been
                                                                                                  0                         4
     9110151                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: GBP; The account has been closed, and the cash in the account has already been
                                                                                                  0                         5
     9110186                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: AUD; The account has been closed, and the cash in the account has already been
                                                                                                  0                        97
     9110216                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: NZD; The account has been closed, and the cash in the account has already been
                                                                                                  0                         4
     9110267                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: DKK; The account has been closed, and the cash in the account has already been
                                                                                                 91                        87
     9110232                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: HKD; The account has been closed, and the cash in the account has already been
                                                                                                 28                        26
     9110275                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: SGD; The account has been closed, and the cash in the account has already been
                                                                                                 25                        25
     9110283                                                                                                                     transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                  Currency: CHF; The account has been closed, and the cash in the account has already been
                                                                                                 89                        87
     9110259                                                                                                                     transferred into the account of the trustee.
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Yucho Bank, Shibuya Branch, Consolidated account No. 10170-48410711                        945                       945
                                                                                                                                 account of the trustee.
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Rakuten Bank, Second Sales Branch, Ordinary deposit account No. 7018261              279,457                      279,213
                                                                                                                                 account of the trustee.
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Japan Net Bank, Suzume Branch, Ordinary deposit account No.2559084                   596,168                      596,168
                                                                                                                                 account of the trustee.
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Yachiyo Bank, Shibuya Branch, Ordinary deposit account No. 0623839                           7                         7
                                                                                                                                 account of the trustee.
     Yachiyo Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                 Currency: AUD; The account has been closed, and the cash in the account has already been
                                                                                           95,357                       93,468
     0623949                                                                                                                     transferred into the account of the trustee.
     Yachiyo Bank, Shibuya Branch, Foreign currency ordinary deposit accountNo.                                                  Currency: EUR; The account has been closed, and the cash in the account has already been
                                                                                          141,608                      136,041
     0623950                                                                                                                     transferred into the account of the trustee.
     Yachiyo Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                                 Currency: USD; The account has been closed, and the cash in the account has already been
                                                                                          102,476                      100,677
     0623938                                                                                                                     transferred into the account of the trustee.
                                                                                                                                 The account has been closed, and the cash in the account has already been transferred into the
     Resona Bank, Shibuya Branch, Ordinary deposit account No.2973992                             0                       100
                                                                                                                                 account of the trustee.




                                                                                                           1/4
                                                 Case 14-31229-sgj15             Doc 188-6 Filed 10/25/18 Entered 10/26/18 15:05:18                                          Desc
                                                                                        Exhibit
                                                                                           AppraisedPage
                                                                                                     amount 20  of 24
                                                                                                             (amount
                                                                                 Book value
No. Item                                                                                           incorporated into the                                                   Remarks
                                                                                    *1
                                                                                                   bankruptcy estate)*2
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to March
 2 Short-term loans                                                                1,307,423,210                46,686,362
                                                                                                                           6, 2018.
                                                                                                                           This company is an affiliated company of the bankrupt, and an order of commencement of
     TIBANNE Co., Ltd.                                                              772,791,001                          0 bankruptcy proceedings for such company was issued on January 30, 2015. The filing of proof
                                                                                                                           of claims has already been completed.
                                                                                                                           This company is an affiliated company of the bankrupt. Collected under the claim assignment
     K.K. Shade3D                                                                   338,139,321                 46,686,362
                                                                                                                           agreement on September 29, 2015.
                                                                                                                             This company is an affiliated company of the bankrupt, and an order of commencement of
     K.K. Bitcoin.Café                                                               60,000,000                            0 bankruptcy proceedings for such company was issued on June 18, 2014. The filing of proof of
                                                                                                                             claims has already been completed.
                                                                                                                               This person is the representative of the bankrupt, and an order of commencement of bankruptcy
     Robert Marie Mark Karpeles                                                     136,175,781                            0
                                                                                                                               proceedings for such person was issued on November 10, 2015.
                                                                                                                           This company is an affiliated company of the bankrupt. Repayment of the loan is currently being
     MTGOX HongKong                                                                     317,107                            0
                                                                                                                           requested.
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to March
 3 Accounts receivable                                                                  925,826                    331,600
                                                                                                                           6, 2018.
                                                                                                                           This company is the parent company of the bankrupt. The accounts receivable against this
     TIBANNE Co., Ltd                                                                   562,026                          0
                                                                                                                           company comprise of accrued interest on the loan.
     Shibuya Tax Office (Interim payment of corporation tax)                            242,200                    243,900 Tax refund was paid into the account of the trustee on July 24, 2014.
   Shibuya Metropolitan Taxation Office (Interim payment of enterprise tax and
                                                                                         80,800                     80,800 Tax refund was paid into the account of the trustee on July 29, 2014.
   special local corporation tax)
   Shibuya Metropolitan Taxation Office (Interim payment of inhabitants tax on                                             Upon balancing by taxation on a per capita basis, a tax refund was paid into the account of the
                                                                                         40,800                       6,900
   corporation tax basis)                                                                                                  trustee on July 29, 2014.
 4 Provisional payment (to the Tokyo District Court)                                  2,000,000                  2,000,000 Collected on June 4, 2014
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to March
 5 Deposits paid                                                                    783,948,565                862,720,420
                                                                                                                           6, 2018.
     Counsel for applicant                                                          241,459,630                231,557,866 The money deposited was already succeeded at the appraised amount on May 12, 2014.
     Counsel for applicant                                                          509,510,685                500,698,397 The money deposited was already succeeded at the appraised amount on May 9, 2014.
     Counsel for applicant                                                           32,978,250                 32,977,386 The money deposited was already succeeded at the appraised amount on May 8, 2014.
     Others                                                                                   0                 97,486,771 Collected on January 7, 2015
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to March
 6 Money deposited with other companies                                            1,693,444,088               990,215,531
                                                                                                                           6, 2018.
     CoinLab                                                                        500,000,000                          0 Pending litigation
     Others                                                                        1,193,444,088               990,215,531 The money was paid into the account of the trustee on June 5,2017.
                                                                                                                               The appraised amount is based on the amount actually converted into cash on or prior to March
 7 Tools, furniture and fixtures                                                    104,557,699                 32,582,300
                                                                                                                               6, 2018.
     DELL Server                                                                      5,649,000
                                                                                                                               Sold on November 27, 2014. The consideration has already been transferred into the account of
     Violin Server                                                                   90,623,142                 32,382,300
                                                                                                                               the trustee.
     Apple Japan; 28 laptop computers                                                 5,383,438
                                                                                                                               Sold on June 8, 2015. The consideration has already been transferred into the account of the
     Chair                                                                            2,902,119                    200,000
                                                                                                                               trustee.




                                                                                                     2/4
                                                Case 14-31229-sgj15                Doc 188-6 Filed 10/25/18 Entered 10/26/18 15:05:18                                        Desc
                                                                                          Exhibit
                                                                                             AppraisedPage
                                                                                                       amount 21  of 24
                                                                                                               (amount
                                                                                   Book value
No. Item                                                                                            incorporated into the                                                  Remarks
                                                                                      *1
                                                                                                    bankruptcy estate)*2
                                                                                                                                The appraised amount is based on the amount actually converted into cash on or prior to March
 8 Security deposit                                                                       700,000                           0
                                                                                                                                6, 2018.
    The Executive Center Japan K.K.                                                       540,000                           0 The contract has been cancelled. Irrecoverable

    The Executive Center Japan K.K. (Security deposit for parking spaces）                 160,000                           0 The contract has been cancelled. Irrecoverable

                                                                                                                              This is a refund of the money for release from provisional seizure deposited by the bankrupt and
 9 Guaranty money deposited                                                            10,586,875                10,587,933
                                                                                                                              has already been collected.
                                                                                                                              The appraised amount is based on the amount actually converted into cash on or prior to March
10 Development expenses                                                                85,875,146                           0
                                                                                                                              6, 2018.
    Applico Inc.                                                                       33,453,375                           0 No value

    Internet Escrow Services                                                            3,073,459                           0 No value

    Mandalah KK                                                                        31,993,500                           0 No value

    The Phuse Inc.                                                                      4,572,513                           0 No value

                                                                                                                                This development expense is currently under investigation, but may be an expense spent in the
    Winsoft Technology Solutions Inc.                                                  12,782,299                           0
                                                                                                                                past and may have no value.
11 Interest income                                                                              0                   390,829 Interest on deposit
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to March
12 Prepayment for filing bankruptcy                                                             0                18,063,297
                                                                                                                           6, 2018.
                                                                                                                           Return of prepayment for filing bankruptcy against Robert Marie Mark Karpeles (including
    Prepayment for filing bankruptcy against Robert Marie Mark Karpeles                         0                3,026,000
                                                                                                                           return of postal stamps, etc.)
                                                                                                                           Return of prepayment for filing bankruptcy against TIBANNE (including return of postal stamps,
    Prepayment for filing bankruptcy against TIBANNE Co., Ltd.                                  0               15,037,297
                                                                                                                           etc.)
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to March 6,
13 Proceeds from the sale of cryptocurrencies                                                   0           42,988,044,343
                                                                                                                           2018.
    Sale of BTC and BCC                                                                                     42,988,044,343 The consideration which was paid into the account of the trustee on or prior to March 6, 2018.

                                                                 Total assets *3      3990797660            44,952,982,218




                                                                                                      3/4
                                                      Case 14-31229-sgj15                      Doc 188-6 Filed 10/25/18 Entered 10/26/18 15:05:18                                                   Desc
Liabilities                                                                                           Exhibit Page 22 of 24
No. Item                                                                                         Book value             Reported amount                                                          Remarks
     Claims on the estate and preferred bankruptcy claims (Taxes and other public                                     The amount has not yet
 1                                                                                                    54,374,152
     charges)                                                                                                           been determined.
                                                                                                                      The amount has not yet
     Claims on the estate (Other expenses)                                                            19,253,642
                                                                                                                        been determined.
 2 General bankruptcy claims (the “Bankruptcy Claims Related to Exchange”)                         8,256,092,214           263,519,268,303,371

     General bankruptcy claims (Transacting parties, etc.)                                           402,470,293                 13,119,083,453
                                                                                                                      The amount has not yet
                                                                     Total liabilities *3          8,732,190,301
                                                                                                                        been determined.

*1 The amounts stated in the "book value" column are, as a rule, entered by referring to the book value as of April 24, 2014, and such amounts do not correspond to their respective amounts of proceeds from their conversion into cash.
*2 As a rule, the "appraised amount (amount incorporated into the bankruptcy estate)" shows the amount actually collected on or prior to March 6, 2018.
*3 The bitcoins and bitcoin cash held by the bankrupt entity are not included in the assets set forth above. In addition, the amount of bitcoins managed by the bankruptcy estate as of March 5, 2018, is 166,344.35827254 BTC and the
amount of bitcoin cash managed by the bankruptcy estate as of March 5, 2018, is 168,177.35927254 BCC.
*4 This list has been prepared based on the investigation results at the present point in time, and assets or liabilities not included in this list may be discovered as a result of further investigation.

* This translation is prepared for reference purpose only. The Japanese version is the original and if there is any discrepancy between the Japanese original and this translation, the Japanese original supersedes and governs.




                                                                                                                           4/4
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                                                              [Translation]

                                               Income and Expenditure Statement
                                                            From April 24, 2014
                                                           Through March 6, 2018
[Case Number:] Tokyo District Court 2014 (fu ) No. 3830
Bankrupt Entity: MtGox Co., Ltd.
Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law
                                                                                                                                   (In JPY)

                             Income                                                                Expenditure


  No.                  Abstract                   Amount           No.                         Abstract                       Amount

        Cash and deposits succeeded from the
   1                                               766,593,252      1    Office expenses                                        35,942,428
        bankrupt
                                                                         Expenses for notice of commencement of
   2    Deposits succeeded from the court             2,000,000     2                                                             6,890,292
                                                                         bankruptcy proceedings to bankruptcy creditors

   3    Collection of monies deposited              10,587,933      3    Supplies expenses                                      11,067,793


   4    Interest income                                390,829      4    Professional fees                                     328,320,116


   5    Tax refund                                     331,600      5    Outsourcing fees                                      153,957,278

        Collection of money deposited with                               Settlement Money (Expense for terminating
   6                                               990,215,531      6                                                             6,310,433
        other companies                                                  telecommunication related agreement)
        Money provided as assistance by
        Payward under the contract for
   7                                                32,382,300      7    Transportation expenses                                   298,930
        providing assistance and others in
        bankruptcy proceedings
                                                                         Rent and deposit for the bankruptcy trustee's
   8    Collection of deposits paid                 97,486,771      8                                                             8,180,428
                                                                         office
                                                                         Tax and public dues (withholding tax of trustee's
   9    Proceeds from sale of fixtures                 200,000      9                                                           40,051,228
                                                                         fee, etc.)
        Price for assignment of loan to K.K.
  10                                                46,686,362      10   Call center expense                                    10,002,395
        Shade3D
        Return of prepayment for filing
        bankruptcy against Robert Marie                                  Prepayment for filing bankruptcy against
  11                                                  3,026,000     11                                                          15,000,000
        Mark Karpeles (including return of                               TIBANNE
        postal stamps, etc.)
        Return of prepayment for filing
        bankruptcy against TIBANNE
  12                                                15,037,297      12   Trustee's fee                                         163,681,976
        (including return of postal stamps,
        etc.)
        Proceeds from the sale of                                        Prepayment for filing bankruptcy against Robert
  13                                             42,988,044,343     13                                                            3,000,000
        cryptocurrencies                                                 Marie Mark Karpeles

            Total                                44,952,982,218               Total                                            782,703,297




                                                                                               Balance                       44,170,278,921




* This translation is prepared for reference purpose only. The Japanese version is the original and if there is any discrepancy between the
Japanese original and this translation, the Japanese original supersedes and governs.
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                                                    [Translation]

[Case Number:] Tokyo District Court 2014 (fu ) No. 3830
Bankrupt Entity: MtGox Co., Ltd.
Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law
(As of April 24, 2014, the date of the order of commencement of bankruptcy proceedings)

                                       [Bankruptcy] Balance Sheet
                                                                                                                In JPY
                                       Appraised amount
                                     (amount incorporated
               Item                                                       Item                       Filling amount
                                      into the bankruptcy
                                            estate)*1
                                                            Claims on the estate and
Cash and deposits                           1,359,603                                        *3             73,627,794
                                                            preferred bankruptcy claims

Short-term loans                           46,686,362       General bankruptcy claims             263,532,387,386,824

Accounts receivable                           331,600

Provisional payment                         2,000,000

Deposits paid                             862,720,420

Money deposited with other
                                          990,215,531
companies

Tools, furniture and fixtures              32,582,300

Security deposit                                     0

Guaranty money deposited                   10,587,933

Development expenses                                 0

Interest income                               390,829

Prepayment for filing bankruptcy           18,063,297

Proceeds from the sale of
                                      42,988,044,343
cryptocurrencies

Total assets                    *2    44,952,982,218        Total liabilities                     263,532,461,014,618


*1 The "appraised amount (amount incorporated into the bankruptcy estate)" shows the amount actually collected on
or prior to March 6, 2018.
*2 The bitcoins and bitcoin cash held by the bankrupt entity are not included in the assets set forth above.In addition,
the amount of bitcoins managed by the bankruptcy estate as of March 5, 2018, is 166,344.35827254 BTC and the
amount of bitcoin cash managed by the bankruptcy estate as of March 5, 2018, is 168,177.35927254 BCC.

*3 The amounts of these liabilities are based on the book value of the bankrupt at the time of the order of
commencement of bankruptcy proceedings because requests for distribution have not yet been completed.
*4 This balance sheet has been prepared based on the investigation results at the present point in time, and assets or
liabilities not included in this balance sheet may be discovered as a result of further investigation.

* This translation is prepared for reference purpose only. The Japanese version is the original and if there is any
discrepancy between the Japanese original and this translation, the Japanese original supersedes and governs.
